                                             PROCEEDING MEMO
                                         HONORABLE JOHN P. GUSTAFSON

In Re:                                                                                   Case No. 19-03008-jpg
(Taniel Patrice Sanders)                                                                 Chapter 7


Taniel Patrice Sanders

v.

FedLoan Servicing et al




(Related Case No. 18-33826                    )
NATURE OF PROCEEDING:
Further Pre-Trial on Complaint by Taniel Patrice Sanders against FedLoan Servicing, U.S. Department of Education,
Pennsylvania Higher Education Assistance. Nature of Suit: (Dischargeability - 523(a)(8), student loan)




APPEARANCES:
✔ Plaintiff(s) Taniel Patrice Sanders                               Atty for
✔ Atty for Plaintiff(s): Joseph E. Stanford                         Atty for
 ✔   Atty for Defendant(s): Guillermo J. Rojas (by phone)           Atty for
     Atty for                                                       Atty for

✔ HELD                EVIDENCE SUBMITTED                                   TAKEN UNDER ADVISEMENT
  NOT HELD                                                                 MOTION CUT-OFF
  MOTION TO CONTINUE F/C        DAYS
  AGREED ENTRY ON / BEFORE        DAYS                                     DISCOVERY CUT-OFF
  STATUS REPORT ON / BEFORE        DAYS
  MOTION FOR DEFAULT ON / BEFORE        DAYS                               AMENDED PLEADINGS
  REQ. FOR ALIAS SUMMONS ON / BEFORE       DAYS
  MOTION TO BE WITHDRAWN          DAYS                                     FURTHER PRE-TRIAL
  OBJECTION TO BE WITHDRAWN         DAYS
  GRANTED      APPROVED     DENIED     SUSTAINED                          TRIAL
  DISMISSED
  ADJOURNED TO               AT                                           WITNESS / EX LISTS
                                                                          EXHIBITS TO COURT
                                                                          RULE 26(a)(1)(2) DISCLOSURE OF WITNESSES

COMMENTS OF COURT:
Discovery is continued to November 25, 2019, to allow the Debtor-Plaintiff to be deposed and for additional
documents to be provided. Trail will be held on January 7, 2020 at 9:30 a.m. Exhibits and witness lists will be
ordered to be provided prior to trial.




 HEARING DATE: Tues., 9/24/2019
 FOR COURT USE ONLY:
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         19-03008-jpg         Doc 18      FILED 09/24/19    ENTERED 09/24/19 09:46:05              Page 1 of 1
